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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.4
                               Eastern Division

Stephanie Lukis, et al.
                                   Plaintiff,
v.                                                      Case No.: 1:19−cv−04871
                                                        Honorable Gary Feinerman
Whitepages Incorporated
                                   Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, April 13, 2022:


        MINUTE entry before the Honorable Gary Feinerman:MOTION to substitute
party [244] is granted. J.B.1, J.B.2, J.B.3, and J.B.4, by and through their mother, Crystal
Sanchez, are substituted as plaintiff for Shawn Brown. Mailed notice.(jlj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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